Case 1:10-cv-00085 Document 74 Filed 11/23/11 Page 1 of 12 PageID #: 1117
Case 1:10-cv-00085 Document 74 Filed 11/23/11 Page 2 of 12 PageID #: 1118
Case 1:10-cv-00085 Document 74 Filed 11/23/11 Page 3 of 12 PageID #: 1119
Case 1:10-cv-00085 Document 74 Filed 11/23/11 Page 4 of 12 PageID #: 1120
Case 1:10-cv-00085 Document 74 Filed 11/23/11 Page 5 of 12 PageID #: 1121
Case 1:10-cv-00085 Document 74 Filed 11/23/11 Page 6 of 12 PageID #: 1122
Case 1:10-cv-00085 Document 74 Filed 11/23/11 Page 7 of 12 PageID #: 1123
             UG        1RYHPEHU




Case 1:10-cv-00085 Document 74 Filed 11/23/11 Page 8 of 12 PageID #: 1124
Case 1:10-cv-00085 Document 74 Filed 11/23/11 Page 9 of 12 PageID #: 1125
Case 1:10-cv-00085 Document 74 Filed 11/23/11 Page 10 of 12 PageID #: 1126
Case 1:10-cv-00085 Document 74 Filed 11/23/11 Page 11 of 12 PageID #: 1127
Case 1:10-cv-00085 Document 74 Filed 11/23/11 Page 12 of 12 PageID #: 1128
